, Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 1 of 30
' /
Xhiet #5

COMMONWEALTH OF PENNSYLVANIA COURT OF COMMON PLEAS
COUNTY OF LEBANON
V CRIMINAL TRIAL
CP-38-JV0000190-2000
CHARGES:
Burglary 18§ 3502 §§A
REBECCA RUNKLE Theft by unlaw Taking Movable Prop.

18 § 3921 §§A
Conspiracy- Burglary 18 § 903 §§C

TO THE HONORABLE SAMUEL A, KLINE RESIDING IN COURT OF COMMON PLEAS FOR
THE COUNTY OF LEBANON
Petitioner Rebecca Runkel by her counsel Ibrahim Aly respectfully represents that :

1- On the years of 2000, Rebecca Runkel was 16 years old, a minors under the supervision of
the state of pennsylvania Juvenile probation at maple street girls group home, Rebacca Runkel
did completed its assignment program under Juvenile Probation Authority, and she was release
on 2002 as requires by state law.

2- Three Juvenil, Rebecca Runkel and two Juvenil run from Maple Street Group Home, where
they reside as Juvenil under Pennsylvania State Juvenile Probation, the three juvenile broke
into home, Damage the door and Steal some Money, On 2002 Petitioner was arrested and
charged with one count of each Burglary, Theft by unlaw Taking movable Prop, and Conspiracy-
Burglary.

3- Petitioner Rebecca Runkel receiving a letter in mail instated that :

Lebanon County Probation Charge Petitioner Rebecca Runkel on November 18, 2014 after a
trial in this matter, this court found Petitioner guilty of one count of each Burglary, Theft by unlaw
Taking movable Property, and Conspiracy- Burglary

4- On November 18, 2014 petitioner order to pay for fine and cost up to $ 4035.29

5- The Fifth and Sixth Amendment to the U.S. Constitution granted a criminal defendant the
right to counsel and cross-examination in which judge Samuel a Kline violation
Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 2 of 30

U.S

Right of Way Authority

Mr. {brahim Aly

Represented His Ex Wife Petitioner Rebecca Runkel

Judge Samuel Kline asked Mr. Aly if He Has any Money to pay the Court Fine.

Mr Aly, answer no

Judge Samuel Kline, told Mr. Aly that: " You only allow to talk if You bring money with You,
otherwise keep quiet"

Mr. Aly Protest Judge Samuel Kline, then Judge Kline order the lebanon Sharif Police to remove
Mr. Aly from the Courtroom.

6- the court of Common Pleas violation to Rebecca Runkel civil rights Amendment XIV_ section
1 of the United States Constitution “ nor shall make or enforce any law which shall abridge the
privilege of citizens of the United States nor shall any state deprive any person of liberty without
due process of law’ in which Judge Kline Violated the Due Process of Law, for not Allow the
Petitioner to testify, nor Judge Kline Allow Her Counsel to testify as mandated by civil rights
Amendment XIV section 1 of the United States Constitution.

the Court under Judge Kline Never explaining why the Petitioner Mss. Rebecca is Guilty of or
"Be Have to Pay the fine Up to $ 4035.29.

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7- there wasn't any court agreement with signature of the Petitioner Rebecca Runkel admitteda 19 \S
guilty peal or She ever informed that She, must bring money for payment of fines , she was in PR«eds An
court to prove her innocent plea. C
The Court of Common Pleas relied on the record of Lebanon county Juveniie Court year 2000

when determining the verdict in violation to:

|- the statute of limitation for the prosecution of both the state of pennsylvania is five years and

the county of lebanon is two years

See. Exhibit No. #

8 - the FiFth Amendment to the U.S. Constitution provides “ No person shall... be subject for
the same offence... to be put in jeopardy of life or limb” the double jeopardy clause by law keep
defendant from facing prosecution more than once for the same offence’

Petitioner Rebecca, had been charge while under the supervision of Pennsylvania State
Juvenile Probation, since the year of 2000 when she was 16 years, minor and She finished her
time at maple street Juvenile group home and release on the years 2002

9- when the Petitioner Rebecca Runkel at the time of the commission of offence or delinquent
act is a child , age 16 years old , the period of time during which the juvenile crime will be
prosecuted as to Misdemeanor charges but not as a criminal charges as the city of lebanon
charge Rebecca runkel on november 18,2014 , Rebecca Runkel is no longer under the

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 3 of 30

Commonwealth of Pennsylvania juvenile probation since 2002 and never be under any state
propation supervision after the year of 2002.

So Why the Petitioner Rebecca Runkel Name, come under Lebanon Adult Probation
Department, and Why Rebecca Runkel Should Pay Adult Probation Fine, no Answer for the
Common Pleas Court only pay the Fine as Judge Kline instated or " Jail"

10- Rebecca Runkel juvenile record must be protected by the commonwealth of Pennsylvania
as mandated by law in which Lebanon Common Pleas Court violated.

11- 42 PACONS. STAT. § 5552 ( 2012 ) OTHER Offences

I- the statute of limitation of statue for the State of Pennsylvania Commonwealth Prosecution
office must be commenced within five years after it is committed , the Commonwealth of
Pennsylvania time from the year 2000 to year 2014 it equal to 14 years it is consider as 7 years
later after the statute of limitation running out for the right of Prosecution

Il- The Commonwealth of pennsylvania doesn't have any right to prosecuted Rebecca Runkle
after seven years passing the statute of limitation of 5 years. See EXHIBIT 1

12- Lebanon, Common Plea Court violated Petitioner's Rebecca Runkel in
A - Fulse Arrest
B- False Imprisonment.

pennsylvania state constitution and violation to the United States Constitution Amendments
rights be considered , Petitioner also respectfully requested that the motion for reconsideration
be granted

.
|
Wherefore, Petitioner respectfully requests that violation to the due process of law, violation to
Respectfully submitted

U.S
Right of Way Authority
Ibrahim Aly

in whalfer of Ms. Re be cea Crile

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_ta matter Rebecca phorer Li sine
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U.S

Right of Way Authority

Reading Company Chief of police
Ibrahim Aly

a notice of Appeal filed with Pennsylvania Superior Court on February 4, 2015

in behalf of Ms. Rebecca

Case No. # 158 MDA 2015

Mr. Aly give's all the time to the Federal Investigation to enforced the Declaration of Independence
from England, the Order to defend the Capital Washington, the United States Land, the Union Flag and
the Law of the Flag follow the law of the land, the United States of America Constitution.

Mr. Aly submitted Miss. Rebecca as Part of Pennsylvania Court of Common Pleas Violation as
explaining in the matter above.

The Matter relating to Rebecca Runkel Driver License Suspension

Ms.. Rebecca Runkel stated that “she never consent Her Right to police officer who stop Rebecca while
she was walking in a Private Parking Lots, she wasn't driven a Car. And she is not considered her Right
to Lebanon Police Office.

Notice of Impending bench warrant
Commonwealth of Pennsylvania

V.
Rebecca S Runkel

Docket No. MJ - 52201- TR - 0002299 - 2013
Case filed 10/25/2013

On June 09, 2014 Magisterial District Court MDJ- 52-2-01 Judge Thomas M. Capello send a letter to
the Defendant Rebecca, notified with the violation in accordance with Pa. R. Crim. P. 430 and 455

in accordance to Pa R. Crime P. 430 and 455 is related to rules and regulation under public school
code of 1949, this Act used for persecution of a Juvenile under the age of 18 years old in which
Rebecca is above 18 years old, not a Juvenile and no longer under public school code.

This rules if a cases involving a child as defined in the Public school code of 1949, 24 P.S. 1- 102et seq.
the Supreme Court does not adept this Rules and the Pennsylvania General Assembly need to adapt
new law " Mr. Aly a private citizen will notify his district represented " .

Thereafter Magisterial District Court MDJ- 52-2-01 Judge Thomas M. Capello does not have any
right to persecuted Rebecca under this Rules and the Order for miss. Rebecca to reinstate her driver
license, a copy of the appeal case will be sent to Penn dot.

)
Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 5 of 30 Bee

FIRIST JUDICIAL DISTRICT OF PENNSYLVANIA
ci O20 47 FA 4 20
Court of common pleas of Lebanon, criminai trial division ¥ Offence tracing number

CP_-37-5 V cope lto- 2x,

mM

COMMONWEALTH OF PENNSYLVANIA
VS

REBECCA RUNKLE

NOTICE OF APPEAL

NOTICE THAT HERBY GIVEN THAT REBECCA RUNKEL DEFENANDNT APPEALS TO SUPERIOR Court of

Pennsylvania on date for verdict and fine pursuant to pa R.A.P. 1762, HAS the defendant been released
on bill pending appeal

Notice of appeal and proof of service to be served on the following

Counsel for Defendant

3 2653 36%

PEERRAIM BMA Ug a eben
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Phv lade Ohie , PA wae

1x16-cv-09281-JEJ Document{l:7 Filed 02/17/16 Page 6 of 30
SUPERYS K Four ot pe

COMMONWEALTH OF PENNSYLVANIA

REBECCA RUAKEL

RE b (= CO, Ru Nel (applicant or alleged delinquent child) being duly sworn, state: |,

IN THE COURT OF COMMON PLEAS OF LEBANON COUNTY, PENNSYLVANIA
CRIMINAL DIVISION

Action No. C po ‘3X ) V/oo00 [Joe

Gaal Tm Olam icity ag

this application for legal representation, pursuant to PE al VS~L Ja wv 1A Laas:

Gam olc] Ret ari a eyiiely

for the following reason: . | have determined
that the party represented meets the criteria for receiving court-appointed counsel.

oo

cc
yop
| am financially unable to retain private counsel without substantial hardship to me or my family. co rm

tapi Rd
wean

| understand that | must inform the public defender or appointed attorney if my financial situation should change: =

before the disposition of the case(s) for which representation is being provided. 4
"OU ~
| understand that if it is determined by the county or the court that legal representation should not have beer!
provided, | may be required to reimburse the county for the costs of representation provided. Any action filed :
by the county to collect legal fees hereunder must be brought within two years from the last date legal no wpe

representation was provided. CO

| understand that | am subject to criminal charges for providing false financial information in connection with

| hereby certify that the information | have provided on this financial disclosure form is true to the best of my

nowledge. RE b/ECC AR UAKLE (2=|7-{4

Affiant’s signature Date

+~

| hereby certify that above-noted applicant is unable to fill out and / or sign this financial disclosure / affidavit

Judge’s signature Date

SS
_ =

Judge

alts
Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 7 of 30

COMMONWELTH OF PENNSYLVANIA COURT OF COMMON PLEAS
COUNTY OF LEBANON
Vv CRIMINAL TRAIL

CP-38-JV00001 90-2000
CHARGES: Burglary 18§ 3502 §§A
REBECCA RUNKEL Theft by unlaw Taking Movable Prop.
18 § 3921 §§A
Conspircy- Burglary 18 § 903 §§C

APPEL:

TO THE HONORABLE SAMUEL A, KLINE RESIDING IN COURT OF COMMON PLEAS FOR
THE COUNTY OF LEBANON
Petitioner Rebecca Runkel by her counsel Ibrahim Aly respectfully represents that :

OF VERDICT AND FINE

1- Rebacca Runkel Plea is not guilty of the charges in the above captioned charges
CP-38-JV0000190-2000the Court

2- The Fifth and Sixth Amendement to the U.S. Constitution granted a criminal defendent the right to
counsel and cross-examination

3- On 2002 Petitioner was arrested and charged with one count of each Burglary, Theft by unlaw
Taking movable Prop, and Conspircy- Burglary

4- On November 18,2014 after a trail in this matter , this court found Petitioner guilty of one count of
each Burglary, Theft by unlaw Taking movable Property, and Conspircy- Burglary

5- On November 18, 2014 petitioner order to pay for fine and cost up to $ 4035.29

6- the court of Common Pleas violation to Rebacca Runkel civil rights Amendement XIV section | of
the United States Constitution “ nor shall make or inforce any law which shall a bridge the privilege of
citizens of the United States nor shall any state deprive any person of liberty without due process of
law”

7- there wasn;t any court agreement with signature of the Petitioner Rebacca Runkel that she admite
guilty and must bring money for payment of fines , she was in court to prove here inocent plea.

The Court of Common Pleas relied on the record of Lebanon county Juvenile Court year 2000 when
determing the verdict in violation to

I- the statue of limation for the prosecution of both the state of pennsylvainia is fife years and the
county of lebanon is two years

8- the double jeoperdy since years 2000 Rebecca Runkel was 16 years old, a minors under the
supervision of the state of pennsylvania Juvenil propation at maple street girles group home ,Rebacca

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 8 of 30 oo

Runkel did completed its assignement program as requires by state law, the juvenile Propation group
home of maple street supervision and she was release on 2002

9 - Rebacca Runkel has been charged as juvenil and the Fifth Amendement to the U.S. Constitution
provides “ No person shall... be subject for the same offence... to be put in jeopardy of life or limb” the
double jeopardy clause by law keep defendant from facing prosecutial more than once for the same
offence as in Rebacca case it have been charge on year 2000 when she was 16 years as minor and
finshed her time at maple street group home by years 2002.

[_]

10 - when the Petitioner Rebecca Runkel at the time of the commission of offence or delinquent act is a
chiled , age 16 years old , the period of time during which the juvenile crime will be prosecuted as to
Misdemeanor charges but not as a criminal charges as the city of lebanon charge Rebacca runkel on
november 18,2014 , Rebacca Runkel is no longer under the Commonwealth of Pennsylvainia juvenil
propation since 2002 and never be under any state propation supervision after the year of 2002.

11- Rebacca Runkel juvenile record must be protected by the commonwealth of Pennsylvainia as
mandated by law.

12- 42 PA CONS. STAT. § 5552 (2012) OTHER Offinces

I- the statue of limation for the city of lebanan as a charter incorporation to prosecuted Rebacca runkel
is two years.
I]- the statue of limation of statue for the State of Pennsylvania Commonwealth Prosecuttion offince
must be commenced within five years after it is committed , the Commonwealth of Pennsylvainia time
from the year 2000 to year 2014 it equal to 14 years it is consider as 7 years later after the statue of

: limation runing out for the right of Prosecuttion

II[- The Commonwealth of pennsylvainia doesn't have any right to prosecuted Rebecca Runkel after
seven years passing the statue of limation of 5 years.

EXHIPIT 1

Wherefore, Petitioner respectfully repuests that violation to the due process of law, violation to
pennsylvainia state constitution and violation to the United States Constitution Amendements rights be

consisered , Petitioner also respectfully requested that the motion for reconsideration be granted
Respectfully submitted

4, CETARS M AN
RT [yb

Xi 1:16- pre IE Va 1-7 Filed 02/17/16 Page 9 of 30

42 Pa. CONS. STAT. § 5552 A Other offenses

(a) General rule.--Except as otherwise provided in this subchapter, a prosecution for an offense
must be commenced within two years after it is committed.

(b) Major offenses.--A prosecution for any of the following offenses must be commenced within
five years after it is committed:

(1) Under the following provisions of Title 18 (relating to crimes and offenses):

Section 901 (relating to criminal attempt) involving attempt to commit murder where no murder
occurs.

Section 902 (relating to criminal solicitation) involving solicitation to commit murder where no
murder occurs.

Section 903 (relating to criminal conspiracy) involving conspiracy to commit murder where no
murder occurs.

Section 911 (relating to corrupt organizations).

Section 2702 (relating to aggravated assault).

Section 2706 (relating to terroristic threats).

Section 2713 (relating to neglect of care-dependent person).
Section 2901 (relating to kidnapping).

Section 3301 (relating to arson and related offenses).
Section 3502 (relating to burglary).

Section 3701 (relating to robbery).

Section 3921 (relating to theft by unlawful taking or disposition) through section 3933 (relating
to unlawful use of computer).

Section 4101 (relating to forgery).
Section 4107 (relating to deceptive or fraudulent business practices).
Section 4108 (relating to commercial bribery and breach of duty to act disinterestedly).

Section 4109 (relating to rigging publicly exhibited contest).

National District Attorneys Association 82
National Center for Prosecution of Child Abuse

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EX iol 3 ©

(b) If the offense is based upon misconduct in office by a public officer or employee,
prosecution may be commenced at any time while the defendant is in public office or
employment or within two years thereafter, but in no case shall the period of limitation
otherwise applicable be extended by more than three years; or

(c) If the offense is an invasion of personal privacy under ORS 163.700, prosecution may be
commenced within one year after discovery of the offense by the person aggrieved by the
offense, by a person who has a legal duty to represent the person aggrieved by the offense or by
a law enforcement agency, but in no case shall the period of limitation otherwise applicable be
extended by more than three years.

(9) Notwithstanding subsection (2) of this section, if the defendant is identified after the period
described in subsection (2) of this section on the basis of DNA (deoxyribonucleic acid) sample
comparisons, a prosecution for:

(a) Rape in the first degree, sodomy in the first degree, unlawful sexual penetration in the first
degree or sexual abuse in the first degree may be commenced at any time after the commission
of the crime.

(b) Rape in the second degree, sodomy in the second degree or unlawful sexual penetration in
the second degree may be commenced within 25 years after the commission of the crime.

(10) Notwithstanding subsection (9) of this section, if a prosecution for a felony listed in
subsection (9) of this section would otherwise be barred by subsection (2) of this section, the

prosecution must be commenced within two years of the DNA-based identification of the
defendant.

PENNSYLVANIA

18 Pa. CONS. STAT. § 108 (2012). Time limitations

(a) General rule.--Except as set forth in subsection (b), a prosecution for any offense under this
title must be commenced within the period, if any, limited by Chapter 55 of Title 42 (relating to
limitation of time).

(b) Offenses against unborn child.

(1) A prosecution for criminal homicide of an unborn child may be commenced at any time.

(2) A prosecution for an offense under section 2606 (relating to aggravated assault of unborn
child) must be commenced within five years after it is committed.

National District Attorneys Association 81
National Center for Prosecution of Child Abuse
Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 11 of 30°".

IN THE COURT OF COMMON PLEAS FOR

THE FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

CITY OF PHILADELPHIA

Commonwealth of Pennsylvania case C P ~ 3 & = WV O00e \Jo = 2000

V.

REBECCA RUA KEL

i, Abrahim Aly, verify that I am the petitioner in the foregoing Petition, and that
the facts set forth therein are true and correct to the best of my knowledge, information
and belief: and that this verification is subject to the penalties of /8 Pa. Cons. Stat. Ann.

4904 relative w un-sworn falsification to authorities.
|

Saleh J2-lF-Qo/4

IBRAHIM ALY, Petitioner Date
(pp# 1123899)

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Commonwealth of Pennsylvania

Lebanon County Court of Common Pleas 52nd Judicial District

06/20/2014
Rebecca Runkel Lebanon County Probation
436 N Spruce Street 508 Oak Street
Lebanon, PA 17046 Lebanon, PA 17042
RE: CP-38-JV-0000190-2000 tn the Interest of: Runkel, Rebecca, < Payment Plan #: 38-2008-P000000531

Rebecca Runkel:

Our records indicate that you are now more than two thousand three hundred thirty-one (2331) days past due
concerning the payment of the court-ordered costs, fines, restitution, and fees in the above-captioned case(s).

As of the date of this letter, you owe a total of $4035.29. Please forward payment immediately.

If you are unable to pay three (3) days PRIOR to your court date, you must appear for a court hearing
scheduled for 08/19/2014, 9:00AM in Courtroom No. 2.

Failure to pay this amount will result in adverse action being taken against you including but not limited to:

1) Being Found in Contempt of Court
2) A warrant for your arrest being issued

Please contact the Collections Supervision Division at (717) 273-1557 ext. 130 or 138 regarding any questions
you have about this notice.

Sincerely,

Lebanon County Court of Common Pleas
Payment Methods: Cash, Certified Check, Check, Master Card, Money Order, and Visa

NOTE: Checks and Money Orders are made payable and sent to: Lebanon County Probation Department, 508 Oak
Street, Lebanon PA 17042

Master Card and Visa payments may be made in person at the payment window, or online at:
http://ujsportal. pacourts.us using the eCommerce, ePay feature.

Recipient: Rebecca Runkel (Responsible Participant)
CPCMS 2229 Printed: 06/20/2014 8:44:38A’

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Superior Court of Pennsplvania
Middle District

Joseph D. Seletyn, Esq. ~ Pennsylvania Judicial Center

. Prothonotary P.O. Box 62435
. Jennifer Traxler, Esq. . 601 Commonwealth Avenue, Suite 1600

_ +, Deputy Prothonotary Harrisburg, PA 17106-2435
February 4, 2015 (717) 772-1294

www. pacourts.us/courts/superior-court

- In the Superior Court of Pennsylvania
In the Interest of: R.R., a Minor | 458 MDA 2015

“Appeal of: R.R., a Minor |
: |
|

~~ Frial Court Docket No: CP-38-JV-0000196-2000

ORDER

. The trial court record has been filed in this office in the above-captioned matter.

It is your. responsibility to review the record inventory list and make sure that the
certified record forwarded to this sourt contains those documentsgnecessary to the
issues raised on appeal; failure to do So may result in waiver. Pa. Ree. 1926,1931 (d);
Bennyhoff v. Pappert, 790 A.2d 313 (Pa.Super.2001); Commonwealth v. Wint, 730 A.2d 965
(Pa. Super. 1999).

Pursuant to Pa. R. A. P. 2185{@). briefs for the e appellant must be filed on or before March 16,
2015. ms

“Upon failure to timely file briefs for the appellant, the court will, on its owh motion and without

~~ “further notice, dismiss the appeal. If the briefs are.filed late but before the appeal is dismissed

counsel: shall: not: be Permitted to argue but shall be > available to answer any questions the court

“Pursuant to Pa. R. A. P. 2114(B); copies of the trial court opinion must be appended to
the appellant's brief. ‘Briefs will ‘not be accepted for filing unless you comply with this
request. . Ls

Seven’ “(Ny oa of briefs, together with’ four (4) copies of the reproduced record, if
applicable, “must be filed and opposing parties must be served.

If this isa ‘cross appeal, your attention i is directed to Pa.R.A.P. 2136 to determine which party
is considered the appellant for the purpose of establishing the briefing schedule.

Per Curiam

Ica
cc: David J. Arnold Jr., Esq.

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FIRIST JUDICIAL DISTRICT OF PENNSYLVANIA

Court of common pieas of Lebanon, criminal triai division Offence tracing number

CP_-3x#-5 V capo lIo- 2

COMMONWEALTH OF PENNSYLVANIA
VS

REBECCA RUNKLE

NOTICE OF APPEAL

NOTICE THAT HERBY GIVEN THAT REBECCA RUNKEL DEFENANDNT APPEALS TO SUPERIOR Court of
Pennsylvania on date for verdict and fine pursuant to pa R.A.P. 1762, HAS the defendant been released
on bill pending appeal

Notice of appeal and proof of service to be served on the following

Counsel for Defendant

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 15 of 30

SUPERIOR COURT OF PENNSYLVANIA
Family & Domestic Relations Docketing Statement

Pursuant to Pa.R.A.P. 3517, you must complete and return this form and attachments to the Prothonotary
of the Superior Court by February 09, 2015. A completed copy of this form must also be provided to each
appellee. THIS FORM IS FOR FAMILY AND DOMESTIC RELATIONS APPEALS ONLY, as indicated on
the trial court docket and/or order from which you are appealing.

T N ND
PR LY E LRE DISMI
OF THE APPEAL.
A. CASE IDENTIFICATION
1. Case Caption: in the Int. of: R.R. a Minor
2. Superior Court Docket No: 158 MDA 2015

3. Party or parties filing appeal: Runkel, Rebecca

B. TIMELINESS OF APPEAL (check and complete ONLY those which apply)

( ) Date of order appealed from ! +
( ) Date notice of appeal filed 1Q _ | / — eo OQ [ 45
( ) Was reconsideration in lower court requested? ( } Yes Lirnio
If yes, was it expressly granted? ( ) Yes (give date) { ) No

C. APPEAL FROM THE TRIAL COURT
1. Is the order appealable from a final order? does ( ) No

a. If yes, specify rule “r subsection governing finality: bong '
back =; ub. Le Yeaieragu — ewjl RyaAy—
Sor oh cy) b. Nie order is nota final order: oO ~
\ Is the order appealable as of right under Pa. RAP. 3142 +
eves (epecity which subsection) CN V4 Lo \ ao 0* aubLl< dy

() No wrk of Camme ) Pee o
ii, Was permission to appeal granted wet to: Le N oO aS © opel
A. Pa.R.A.P. 1311? ( )Yes ( )No { uA ry S dy a
Misc. Docket No. Cie ) On.

B. Pa.R.A.P. 1501 et seq? ( ) Yes ( ) No
Misc. Docket No.
2. How have issues Ren preserved?\(e.g. pre-trial motions, exceptions, objections at trial)
A (& AA ve GO6@ 2,
a. INCLUDE date of filing AL _{ OW 4 .
b. INCLUDE date of decision ___ (7 | pq [5
FITS? JECT TONS at Woah
3. Did the trial court order the filing of a statement of matters complained of on appeal pursuant to
Pa.R.A.P. 1925(b)? ( ) Yes (give date) (So Rey eve -
a. Date Appellant filed the Pa.R.A.P. 1925(b) statement with the trial court orothonotary! Q \
equersti

\

b. Date Appellant filed the Pa.R.A.P. 1925(b) statement with the trial judge

c. If this case is Children's Fast Track Appeal, was the Pa.R.A.P. 1925(b) statement filed
with the notice of appeal? ( ) Yes ( )No

AOPC 3020 01/26/2015 11:40 am

Case 1:16-cv-00281-JEJ Document 1-7
D. TYPE OF CASE (check as many as apply)

( ) Adoption Act (Terminatior/parental rights)
Date of final decree

(_ } Commonr-law marriage
( ) Custody/visitation
Date of next hearing

( )} Divorce (Check those which apply)
1. Date of Decree

Filed 02/17/16 Page 16 of 30

2. Divorce Decree MUST be provided (if any categories under this section are checked)

( ) Alimony pendente lite

( ) Alimony

( ) Bifurcation

( ) Counsel fees

( ) Enforcement

( ) Equitable distribution

(_ ) Validity of marital agreement

3. List any issues pending

a.

b. Other (specify)

4. Date of next hearing

(_ ) Support
( ) Child support
( ) Guideline controversy
( ) Spousal Support
( ) Fducation expenses
-{s the order allocated?
or unallocated?

( )Yes ( )No
( )Yes ( )No

2. Was spousal support instituted by separate complaint? ( ) Yes ( ) No
3

Date of Divarce Decree

A
aati M Court aft

Oxflabeas Corpus RE Co

xc fébeas ret (DeperdeneoodeanS. rigs) 30 ld abe Ms Coru e S wD A oy

1. Has there been a disposition? { )Yes (
( }Yes ( )No

2. Has there been a goal change?

(_ ) Paternity

1. Has support order been entered? ( )Yes ( n°
2. Have blood tests been ordered? ( )Yes ( )

3. Date of next hearing

o

Unite) chal ¢ Arte Ce,
£2 CAE
Pyost ws gi

{ }) Protection from abuse (attach order)
Order entered on

( ) Adjudication of Contempt
1. Date of next hearing

WD We Reel J AMV
Court O Dl. .
OM Mo Cy,

‘t Pets hee 45

Fine $

Imprisonment

Judgement of sentence after bench trial

Other (specify)

AARWN

Sentence imposed

AOPC 3020

01/26/2015 11:40 am

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 17 of 30
E. RELATED CASES

List all related cases pending in any court (e.g., divorce, support, custody, protection from abuse, etc..,
co-defendants, cross appeal, cross-claims, counterclaims, bankruptcy proceedings or other appeals):

“Tp NAME COURT CASE NO. TYPE OF CASE
Ce f oas ' ,
—} tt TT /
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F. DESCRIPTION OF APPEAL /~ Oo {
1. Brief description of action and result below:

Wa Court af ( SM Moa N plea Se af. Le banoal

Does : Y o ba (CQ

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\R wail elL—_O1 Fe alge of 2h D of. (2-7-4

2. Issues to be raised on appeal:
‘

3. If proceeding pro se, list all prior counsel in the instant case:

Tecan ws M A+

ee eT OR SN Rv |

4. IF you are incarcerated and pro se, does the application of the prisoner mailbox rule make
this appeal timely?
( )Yes ( )No
If yes, explain why and attach any supporting evidence.

HAVE YOU ATTACHED (REQUIRED):

Order/judgment/decree from which appeal is taken? ( ) Yes ( ) No
—— 7 Notice of appeal? Lrrées( Ne
Up-to-date trial court docket? ( ) Yes ( )N
Trjal courtopinion (if available)? i ) Yes ake )N ()
Signature AWs Os E-Mail Address Plat 7 Aple NOG, vn (va

Address Date

Nt 2167 Do fF

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2b ae) on, p \] O 49 — oro | S 01/26/2015 11:40 am

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Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 18 of 30

Superior Court of Pennsylvania

Joseph D. Seletyn, Esq. Middle District

Pennsylvania Judicial Center

Prothonotary P.O. Box 62435
Jennifer Traxler, Esq. 601 Commonwealth Avenue, Suite 1600
Deputy Prothonotary Harrisburg, PA 17106-2435

January 26, 2015 (717) 772-1294

www. pacourts.us/courts/superior-court

Rebecca Runkel
436 N Spruce Street
Lebanon -PA~17046-—————_

L oe Ke becca Ruak el

(s RE: In the Int. of: R.R. a Minor

158 MDA 2015 , i? S | feu KS alc
\\ sear teheeca Runkel la Aet CA Mine

Pursuant to Pennsylvania Rule of Appellate Procedure 3517, a Superior Court Docketing
Statement is enclosed. Please confirm that the Docketing Statement you received corresponds
with the type of case from which the appeal has been taken (i-e., civil, criminal, or family) and
that the pre-printed information is correct. If the enclosed Docketing Statement does not
correspond with your case type or the information is incorrect, please contact this office before
the Docketing Statement due date and a new Docketing Statement will be sent to you. If the
Docketing Statement is correct, complete the Docketing Statement and return it to this office by
February 9, 2015.

|
Failure to file a timely completed Docketing Statement may result in dismissal of the appeal.
| See Pa.R.A.P. 3517, amended June 5, 2001, effective September 1, 2001.

Respectfully,

Jennifer Traxler, Esa.
Deputy Prothonotary

lalv
Enclosure

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 19 of 30

Commonwealth of Pennsylvania PAYMENT AGREEMENT
Lebanon County Court of Common Pleas :
52nd Judicial District
Fines / Costs: $22.40
Restitution: $3,910.29
Total Due: $3,932.69
11/20/2014 Payment Plan No: 38-2014-P000002449
Runkel, Rebecca Schedule Type: Regular Installments
436 N Spruce Street Frequency: Monthly
Lebanon, PA 17046 Docket(s): CP-38-JV-0000190-2000

i, Rebecca Runkel, do hereby agree to comply with the following payment schedule:

PAYMENT SCHEDULE

i agree to make an initial payment to Lebanon County Probation Services in the amount of $250.00 due on or before 11/18/2014.
Thereafter, a minimum payment of $50.00 shall be made to Lebanon County Probation until all monies owed to Lebanon County

Probation in the above referenced case(s) are paid in full.
Rte
=e —

| understand that the above amounts may change as a result of additional court proceedings or enforcement actions.
| fully understand my obligations under this payment schedule and have been given the opportunity to ask any questions that I have

about it.

{ understand that it is my responsibility to:

1) Make all payments consistently and upon entering into a wage attachment, make all payments as per this agreement
until my employer deducts it from my paycheck completely.

2) If, at any time, | am unable to work due to a medical condition, | shall provide verification of said condition to my
supervising officer immediately. This includes a letter form my physician indicating specific work restrictions and duration of those

retrictions.

Failure to comply with my payment plan may result in contempt of court and the following sanctions may apply: violation
of ARD/IPP/Probation/Parole supftvision, issuance of a bench warrant and/or incarceration.

i have read or have had read and explained to me the above information. i fully understand my obligations under this payment
“chedule and have been given an opportunity to ask any questions that | have about it.

CPCMS 22314

eee Case 1:16-Cv-00281-JEJ Document 1-7 Fife 02/17/16 Page 200f30 °°
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O?2S

IN THE COURT OF COMMON PLEAS
OF LEBANON COUNTY, PENNSYLVANIA

CRIMINAL DIVISION

Me,

COMMONWEALTH OF PENNSYLVANIA

WS. CP-38-OR- 7 / Ge 2 OG!
im 4, fh } } ;
Kir dye ten MLPA : FINES & COSTS

* ORDER OF COURT

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AND NOW, this/7 7 dayot__ / A een Ae , 20 ‘4

after hearing, the Court finds the Defendant has failed to pay the amount previously
ordered and, therefore, is in contempt. Accordingly, he is remanded to the Lebanon

i : i 4 ‘ mgr *
County Correctional Facility for a period of —§ (2 mer’r J effective today.

/

He may purge himself of this contempt by paying the s sum of $ be ) BOO.
BS sss "tle item PE nN trvewiist dd ge .
on the account and by making the regular payments-as-previousty-ordered.

[| The Court has no objection to the Defendant’s placement on the Work

Release Program.

BY THE YR. 3
ff

White-Clerk of Courts Yellow-Defense Counsel Pink-CDU Goldenrod—Sheriff Green-Prison

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 21 of3807

: COMMONWEALTH OF PENNSYLVANIA a 2 Notice of Impending Bent... 2
COUNTY OF LEBANON Warrant .
Mag. Dist. No: MDJ-52-2-01 Commonwealth of Pennsylvania

MDJ Name: Honorable Thomas M. Capello Vv.

Address: 502 State Drive Rebecca S Runkel

Lebanon, PA 17042

Telephone: 717-279-0400

Rebecca S Runkel
436 Spruce St Apt 2
Lebanon, PA 17046

Docket No: MJ-52201-TR-0002299-2013
Case Filed: 10/25/2013

Charge(s)
75§ 1786 §§ F (Lead) Oper Veh W/O Req'd Financ Resp
TO THE DEFENDANT:
You have:

1. entered a guilty plea by mail and the money forwarded Fines: $300.00
with the plea is less than the amount of fine and costs Costs: $92.00
specified in the citation or summons: Other: $27.50
OR Restitution: $0.00

: 419.50

2. been sentenced to pay restitution, a fine, or costs and p Tp te an 02

have defaulted on the payment; ald to Male. :
Adjustments to Date: $0.00
OR Case Balance: $388.48

3. in your absence, been tried and s@ntenced to pay a fine and costs, and the
collateral deposited by you is less than the amount of fine and costs imposed, or
the issuing authority imposes a sentence of restitution.

In accordance with. Pa. R.Crim.P.430 and 455, you are hereby being notified that failure to pay the full amount due or to

appear for a payment determination hearirig within 10 days of this notice may result in the issuance of a bench warrant for
your arrest.

If you have any questions, please call this office immediately.

Make check payable to Magisterial District Court MDJ-52-2-01. You can make case payments online through
Pennsylvania's Unified Judicial System web portal. Visit the portal at http://ujsportal. pacourts.us to make a payment.

June 09, 2014 Pore Capel.

Date Magisterial District Judge Thomas M. Capello

MDJS 418

Printed: 06/09/2014 8:40:15AM

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JIMMONWEALTH OF PENNSYLVANIA
2OUNTY OF LEBANON

Mag. Dist. No: MDJ-52-2-01 Commonwealth of Pennsyivania
MDJ Name: Honorable Thomas M. Capello Vv

Address: 502 State Drive Rebecca S Runkel

Lebanon, PA 17042

Telephone: 717-279-0400

Rebecca S Runkel Docket No: MJ-52201-TR-0002299-2013
436 Spruce St Apt 2 Issued Dt; 06/09/2014
Lebanon, PA 17046

REQUEST FOR SUSPENSION OF DRIVING PRIVILEGE FOR
FAILURE TO PAY FINES AND COSTS IMPOSED

You have failed to pay fines and costs imposed for a violation of the section of the Pennsylvania Vehicle Code shown below. Unless you pay the
fine, costs and penalties shown within 15 days of the above date, or enter into an agreement with this court to make installment payments for the
fines, costs, and penalties shown, your name will be referred to the Department of Transportation which will suspend your driving privilege until you
pay all fines, costs, and penalties imposed. If the Total Due is not specified, you will need to contact the District Court. If your license is suspended,
you will be required to pay additional costs to restore your operating privileges.

THIS NOTICE DOES NOT PERTAIN TO ANY PARKING VIOLATIONS

Driving while under suspension mandates at least a fine of $200.00 and additional 1 year suspension of your driving privilege.

CITATION NO. DATE OF VIOLATION ~— LOCATION OF VIOLATION CHARGE, SECTION AND SUBSECTION VIOLATED
C 1141656-5 10/22/2013 8TH & RR 75 § 1786 §§ F
DESCRIPTION OF VIOLATION FINE, COSTS AND RESTITUTION

Oper Veh W/O Req'd Financ Resp $ 388.48

DRIVERS LICENSE NUMBER CDL STATE DATE OF BIRTH

27002825 C] PA 05/26/1984

LAST NAME FIRST NAME Ml SEX
Runkel Rebecca $s Female
STREET ADDRESS

436 Spruce St Apt 2 _

CITY STATE ZIP CODE

Lebanon PA 17046

REGISTRATION NO. STATE REG. YEAR MAKE VEHICLE TYPE

JFX0302 PA 2014 Mazda Sedan, 4 Door

OFFENSE OCCURED WHILE DRIVING/TRANSPORTING
Cl HAZARDOUS MATERIALS CI COMMERCIAL VEHICLE

SUBMIT CHECK OR MONEY ORDER PAYABLE TO "MAGISTERIAL DISTRICT NO MDJ-52-2-01"

You can make case payments online through Pennsylvania's Unified Judicial System web portal. Visit the portal at
http:/ ujsportal.pacourts.us to make a payment.

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pSee
June 09, 2014 4 hee
Siem aS
Date Magisterial District Judge Thomas M. Capello 2 é
MDJS 638A2 1

Printed: 06/09/2014 8:35:02AM

Mept 1-7 Filed ORELEASEQE PRISGNER

Juvenile Court e
County of Lebanon
52nd Judicial District

Commonwealth of Repnsylyaniey-00281-JEJ_ Dd

In the Interest of: Runkel, Rebecca, a Minor

Lebanon County Clerk of Courts
Lebanon County Courthouse
400 South Eighth Street Docket No: CP-38-JV-0000190-2000
Room 102 OTN:
Lebanon, PA 17042 SID:
PH: 717-228-4419 DOB: 05/26/1984
Charge(s)
18 § 3502 §§ A (Lead) Burglary
18§ 39218§A Theft By Unlaw Taking-Movable Prop
18 § 903 §§ C Conspiracy - Burglary
To the Warder/Director of

(name of institution)

You are ordered/directed to release Rebecca Runkel on Docket No. CP-38-JV-0000190-2000 for the charges listed, for
the following reasons:

[_] Hearing to be held at:

Date: Location:

Time:

Acquitted/Found Not Guilty by (Jury/Court)

Case Dismissed

Charges withdrawn by Prosecution

Bail Posted

Rebecca Runkel has been placed on _— (Probation/Parole)
Other:

OOBWOOO

This release does not apply to any other commitment, hold order, or detainer against Rebecca Runkel.

BY THE COURT:

Date Judge Samuel A. Kline

*°CMS 2004 Printed: 11/10/2014 2:09:05PM

_ BOND Case 1:16-cv-00281-JFJ Document J Lepodled Q¢/4 7/16 Page 24 of 30

In the Interest of: Run ecca, a Minor
UTN: Docket No: CP-38-JV-0000190-2000 Date of Charges: 07/14/2000
| Lower Court No: Lower Court Docket No:
[Des Name/Address: Rebecca Runkel Next Court Action: Courtroom No. 2 - Lebanon County
436 N Spruce Street Fines and Costs Municipal Building
Lebanon, PA 17046 11/18/2014 9:09 am Lebanon County Courthouse
400 South Eighth Street
Lebanon, PA 17042

LEAD OFFENSE
18 § 3502 §§ A Burglary
ADDITIONAL CHARGES MAY EXIST, PLEASE SEE ADDITIONAL CHARGES PAGE

TYPE(S) OF RELEASE:
{X] ROR (LJ Unsecured Bail [_] Nonmoneiary Condition(s) (see additional page(s))

C] Nominal Bail CT Monetary Condition(s) in the amount of

THE CONDITIONS OF THiS BAIL BOND ARE AS FOLLOWS:

1. The defendant must appear at all times required until full and final disposition of the cases).

2. The defendant must obey all further orders of the bail authority.

3. The defendant must provide a current address and must give written notice i the bail authority, the clerk of courts, the district attorney, and
the court bail agency or other designated court bail officer, of any change of address within 48 hours of the date of the change.

4. The defendant must neither do, nor cause to be done, nor permit to be done on his or her behalf, any act as proscribed by Section 4952 of the
Crimes Code (relating to intimidation of witnesses or victims) or by Section 4953 (relating to retaliation against witnesses or victims),
18 Pa.C.S. § 4952, 4953.

5. The defendant must refrain from criminal activity.

6. The defendant must comply with any fingerprint order, if any is issued by this court.

| verify that the above conditions of bail have been imposed.

Date Judge Samuel A. Kline
TYPES OF SECURITY:
CT] CastvEquivalent CT] Gov't Bearer Bond Realty within Commonwealth
Oo % Cash CT Surety Bond CT] Realty outside Commonwealth

TOTAL AMCUNT BAIL SET (IF ANY): $0.00 (see sureties page)
BAIL DEPOSITOR(S)

Depositor Name Amount

Runkel, Rebecca $ 0.00

This bond is valid for the entire proceedings and until full and final disposition of the case including all avenues of direct appeal to
the Supreme Court of Pennsyivania.

| AGREE THAT | WILL APPEAR AT ALL SUBSEQUENT PROCEEDINGS AS REQUIRED AND COMPLY WITH ALL THE CONDITIONS OF THE

BAIL BOND. ‘at / f
THIS BOND SIGNED ON OY 1 0 co / My), \ \w7

at__ LEBANON COUNTY ‘Pennsylvania. «oD \ \

2B Signature of Defendant *
«Dow Z ¢.

A 4/*
Signature of Witness WSSt AS pet, Che (olok Defendant's Address:

(Surety)

(Surety)

PLEASE SEE ATTACHED PAGES FOR ADDITIONAL INFORMATION.

CPCMS 414 Printed: 11/10/2014 2:09:05PM

LETY INFORMATION PAGE Life ino dak Reps Weid7/16 Page 25 of 30

OTN: Docket No: CP-38-JV-0000190-2000 Date of Charges: 07/14/2000
Lower Court No: Lower Court Docket No:
Def Name/Address: Rebecca Runkel Next Court Action: Courtroom No. 2 - Lebanon County
436 N Spruce Street Fines and Costs Municipal Building
Lebanon, PA 17046 11/18/2014 9:90 am Lebanon County Courthouse
400 South Eighth Street
Lebanon, PA 17042

1, Rebecca Runkel, the undersigned surety, have posted security in the amount of $0.00.

TYPES OF SECURITY:
[] CastEquivalent [_] Gov't Bearer Bonds ([] Realty within Commonwealth
CJ % Cash [-] Surety Bond ["] Realty outside Commonwealth

|, Rebecca Runkel, verify that the facts set forth in this form are true and correct to the best of my knowledge, information and
belief. This statement is made subject to the penalties of Section 4904 of the Crimes Code (18 Pa.C.S. Section 4904) relating to
unsworn falsification to authorities.

— 436 N Spruce Street
ARAVA Lebanon, PA 17046
\-

‘Bignsture of Defendant or Surety) (Address of Surety, Surety Company or Defendant)

bby
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* Refund of all bail (less any baitrelated fees or commissions allowed by law and reasonable costs, if any, of administering the
percentage cash bail program) will be made within 20 days after full and final disposition (Pa.R.Crim.P. 535).
* Bring Cash Bail Receipt to Clerk of Courts or Issuing Authority.

CPCMS 414A5 Printed: 11/10/2014 2:09:05PM

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 26 of 30

COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF TRANSPORTATION
Bureau of Driver Licensing
Mail Date: FEBRUARY 02, 2615

REBECCA SUSAN RUNKEL WID # 1250eb9e3e4e28408 O01

436 SPRUCE ST APT 2 PROCESSING DATE 0O1/2b/2015
DRIVER LICENSE # 270024825

LEBANON PA 17046 DATE OF BIRTH 05/26/1984

Dear MS. RUNKEL:

This is an Official Notice of the Suspension of your Driving
Privilege as authorized by Section 1533D of the Pennsylvania
Vehicle Code. Your driving privilege was suspended effec-
tive 0270272015 at 12:01 a.m. for failing to make regular
Payments on fines, costs, and restitution for citation num-
ber C11416565 (Amount Owed $68.94) issued on 10/22/2013.
The citation was a result of your violation of Section 1786
of the Pennsylvania Vehicle Code.

PLEASE READ THIS LETTER IN ITS ENTIRETY. THIS IS A FINAL
ORDER OF SUSPENSION. YOU DID NOT RECEIVE A GRACE PERIOD FOR
THIS SUSPENSION SINCE YOUR DRIVING PRIVILEGE IS CURRENTLY
UNDER SUSPENSION. IF YOU HAVE ALREADY RESUMED YOUR PAYMENT
SCHEDULE AND IT WAS ACCEPTED BY THE COURT BEFORE THE SUS-
PENSION DATE, PENNDOT WILL RECEIVE NOTICE OF YOUR RESPONSE
FROM THE COURT. YOU WILL THEN RECEIVE NOTICE FROM PENNDOT
EXCUSING YOU FROM THIS SUSPENSION.

This suspension is in addition to any other suspensions al-
ready on your record.

RESUMING YOUR PAYMENT SCHEDULE
In order to resume your payment schedule, you must follow
the steps below:

1. Contact the Court: DISTRICT COURT
502 STATE DRIVE
LEBANON PA 17042
(717) 279-0400
2. Make arrangements with the Court to resume your payment
schedule or pay the entire balance.
a. Do not mail or bring your payment to PennDOT.
b. It is your responsibility to contact the Court and
resume payment BEFORE 0270272015.
3. Contact the Court if this letter does not list an amount
owed for this violation.

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 27 of 30

FINAL REPORT!
Revisions of the Comments to Pa.Rs.Crim.P. 430, 455, and 456

SUMMARY CASE RULES AND TRUANCY UNDER PUBLIC SCHOOL CODE
OF 1949

On January 17, 2013, effective May 1, 2013, upon the recommendation of the
Criminal Procedural Rules Committee, the Court approved the revisions to the
Comments to Pa.R.Crim.P. 430 (Issuance of Warrant), Pa.R.Crim.P. 455 (Trial in
Defendant's Absence), and Pa.R.Crim.P. 456 (Default Procedures: Restitution, Fines,
and Costs) to clarify the treatment under the-Criminal Procedural Rules of cases

involving a chi i in the Public School Code of 1949, 24 P.S. § 1-102 et seq.,

who has failed to pay fines and costs following a summary conviction for truancy.

1. INTRODUCTION
As part of the recent re-design of the Magisterial District Judges System (MDJS),
a question arose concerning how to proceed under the Criminal Rules with cases in

which a defendant fails to pay fines following a summary conviction for truancy. The

confusion centers on the differences in the statutory provisions in the Juvenile Act, 42
Pa.C.S. § 6301 et seq., and the Public School Code of 1949, 24 P.S. § 1-102 et seq. for
summary offenses committed by defendants between the ages of 13 and 17. Section

6302 of the Juvenile Act defines “delinquent act," and paragraph (iv) of the definition
specifically excludes "summary offenses unless the child fails to comply with a lawful
sentence imposed thereunder." "Child" is defined, inter alia, as "an individual who is

under the age of 18 years" or fis under the age of 21 years who committed an act of —>
delinquency before reaching the age of 18 years."| 42 Pa.C.S. § 6302. Section 13-1333

of the Public School Code of 1949, provides, inter alia, that a child, who has attained the

age of 13 years but is not yet 17, who fails to comply with the provisions of the Public

' The Committee's Final Reports should not be confused with the official Committee
Comments to the rules. Also note that the Supreme Court does not adopt the
Committee's Comments or the contents of the Committee's explanatory Final Reports.

Rules 430, 455, and 456 Final Report: 1/17/2013

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 28 of 30

-

School Code commits a summary offense and, upon conviction, will be sentenced to
pay a fine. The Code further provides that the failure to pay the fine is not a delinquent

act, but the magisterial district judge may allege the child to be dependent under the

—Juvenile Act —7 Uo Cact yon

The Criminal Rules currently only provide procedures for defendants who fall

within the scope of the Juvenile Act. Pursuant to these procedures, if a defendant
under the age of 18 does not pay the fines and costs, the magisterial district judge must
send out a notice to the defendant that, if payment is not made or the defendant does
not appear within 10 days, the case will be certified to the court of common pleas. If the )
juvenile is 18 or older at the time of the default in payment, and the defendant fails to sen nts Oe LL
respond to the 10-day notice, a bench warrant is issued. _ HK ae ee pepo c
The Committee reviewed the statutes and the rules. The members agreed that,
because the Public School Code creates what can be perceived as an exception to the
Juvenile Act by carving out a special procedure for summary case defendants between
the ages of 13 and 17 who have been found to be in violation of the Public Schoo!
Code, the differences should be recognized in the rules. The Committee agreed that
the Comments to the rules dealing with summary case failures to pay should be revised
to clarify the differences in the treatment of a defendant who has failed to pay fines and

costs and would be subject to the Juvenile Act and a defendant who has failed to pay

the fine and would be subject to thé Public School Code of 194
_—

revisions make it clear that the issui rity Would not certify/the Public School

Code cases to Juvenile Court because the failure to pay under the School Code is not a

pecifically, the

delinquent act, and that the issuing authority may allege the child dependent.

ll. DISCUSSION OF RULE CHANGES

Rules 430 (Issuance of Warrant), 455 (Trial in Defendant's Absence), and 456
(Default Procedures: Restitution, Fines, and Costs) require a 10-day notice before a
bench warrant may be issued when a defendant defaults in the payment of fines and
costs. The Comments to all three rules include an explanation about the variation in
procedure when the defendant is under the age of 18 years. A revision has been added

-2-

Rules 430, 455, and 456 Final Report: 1/17/2013

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 29 of 30

to the beginning of each of these Comment provisions to state that “Except in cases
under the Public School Code of 1949, 24 P.S. 1-102, et seq., in which the defendant is
at least 13 years of age but not yet 17,” to make it clear that Public School Code
summary cases are not treated in the same manner.

In addition, to further assist the bench and bar in understanding the procedures
for Public School Code summary cases when the defendant is 13 but not yet 17 years
of age, the following paragraph has be added to the Comments to Rules 430, 455, and
456.

If the defendant is charged with a violation of the compulsory attendance
requirements of the Public School Code of 194 9, 24 P.S. § 1-102, et
seq.; has attained the age of 13 but is not yet 17; and has failed to pay the
fine, the issuing authority must issue the notice required by paragraph
(B)(4) to the defendant and the defendant's parents, guardian, or other
custodian informing the defendant and defendant's parents, guardian, or
other custodian that, if payment is not received or the defendant does not
appear within the 10-day time period, the issuing authority may allege the
defendant dependent under 42 Pa.C.S. § 6303(a)(1). Pursuant to 24 P.S.
§ 13-1333(b)(2), the defendant’s failure to pay is not a delinquent act and
the issuing authority would not certify notice of the failure to pay to the
common pleas court.

Rule 403(B)(4) requires the issuing authority to issue a summons rather than an
arrest warrant when the defendant under the age of 18 years fails to respond to a
citation. The second paragraph of Rule 430 Comment elaborates on this summons
procedure. The Committee concluded that this summons procedure also would apply to
Public School Code summary cases, and therefore no changes were necessary in this
regard. However, in recognition of the alternative course of action the Code gives to
magisterial district judges of alleging the defendant dependent, this Comment
paragraph is revised to include a citation to Section 13-333 of the Public School Code of
1949 explaining this option.

A final consideration of the Committee was that the application of the Public
School Code penalties section, 24 P.S. § 13-333, is limited to defendants who have

attained the age of 13 but are not yet 17, while the Juvenile Act application terminates
3.

Rules 430, 455, and 456 Final Report: 1/17/2013

Case 1:16-cv-00281-JEJ Document 1-7 Filed 02/17/16 Page 30 of 30

when a defendant reaches the age of 18 in general. Tne Committee discussed how the *
case would proceed when a defendant convicted of a summary offense under the
Public School Code turns 17 years of age, and, therefore, no longer is subject to the
Public School Code. The Committee observed that, if the defendant had an outstanding
installment payment plan, the obligation to pay would remain. If that defendant then
fails to pay on an installment payment plan, he or she would be subject to the Juvenile
Act. If, on the other hand, the failure to pay occurs after the defendant turns 18 years of
age, the case would proceed under the rules. The Committee concluded this process is

clear and no changes to the rules are necessary.

-4-

Rules 430, 455, and 456 Final Report: 1/17/2013

